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11
     Class Representatives GENE JUDSON and
12   MICHELLE JUDSON
13
                               UNITED STATES DISTRICT COURT
14
                           CENTRAL DISTRICT OF CALIFORNIA
15
16
     GENE JUDSON and MICHELLE              Case No.:
17   JUDSON, individually and on behalf of
18   all others similarly situated,        CLASS ACTION COMPLAINT FOR:

19               Plaintiffs,               1) Fraudulent Misrepresentation;
20                                         2) Fraudulent Concealment;
           v.                              3) Negligent Misrepresentation;
21
                                           4) Negligence;
22   CORPORATION OF THE                    5) Breach of Fiduciary Duty;
23
     PRESIDENT OF THE CHURCH OF            6) Unjust Enrichment;
     JESUS CHRIST OF LATTER-DAY            7) California Consumers Legal Remedies
24   SAINTS and ENSIGN PEAK                   Act, Cal. Civ. Code § 1750, et seq.;
25   ADVISERS, INC.,                       8) California Unfair Competition Law, Cal.
                                              Bus. & Prof. Code § 17200, et seq.;
26              Defendants.                9) Civil Conspiracy
27
                                           JURY TRIAL DEMANDED
28


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 1                                           INTRODUCTION
 2       “Let the truth be taught by example and precept—that to steal is evil, that to cheat is
 3                  wrong, that to lie is a reproach to anyone who indulges in it.”1
 4                        – LDS President Gordon B. Hinkley, September 1996
 5
 6            1.     Had LDS President Hinkley followed his own words about the importance
 7   of being truthful instead of falsely representing how the Corporation of the President of
 8   the Church of Jesus Christ of Latter-Day Saints (“LDS Corporation”) was using the hard-
 9   earned money donated by church members, this case (along with the plethora of other
10   similar cases filed in the past year across the country) would never have been necessary.
11   It is only because President Hinkley and other high-ranking members of the Church of
12   Jesus Christ of Latter-Day Saints (the “LDS Church”) intentionally concealed the truth
13   about how charitable donations were being spent that the LDS Corporation and its
14   affiliated financial entity, Ensign Peak Advisers, Inc. (“Ensign” or “EPA,” and together
15   with the LDS Corporation, “Defendants”)) now face a reckoning in a multitude of
16   jurisdictions. This case is the latest sounding of the alarm seeking to hold Defendants
17   accountable for their misconduct and hubris.
18            2.     Plaintiffs GENE JUDSON and MICHELLE JUDSON (collectively,
19   “Plaintiffs”), individually and on behalf of the other members of a Nationwide Class or
20   Statewide Class defined below (the “Class” or “Class Members”) bring this Class Action
21   Complaint against Defendant Corporation of the President of the Church of Jesus Christ of
22   Latter-Day Saints (“LDS Corporation”) and Defendant Ensign Peak Advisers, Inc.
23   (“Ensign” or “EPA”) (collectively “Defendants”) seeking redress and remedy for 1)
24   fraudulent misrepresentation; 2) fraudulent concealment; 3) negligent misrepresentation;
25   4) negligence; 5) breach of fiduciary duty; 6) unjust enrichment; 7) violation of
26   California Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq.; 8) violation of
27   California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.; and 9) civil
28

     1
         https://www.churchofjesuschrist.org/study/general-conference/1996/10/honesty-a-moral-compass
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 1   conspiracy, arising from Defendants misrepresenting to Plaintiffs and Class Members
 2   that their monetary contributions, known as “tithing” or “tithing funds”, were not being
 3   used for commercial, for-profit purposes when, in fact, Defendants used at least $1.4
 4   billion in tithing funds to finance a commercial, for-profit shopping mall during relevant
 5   times, and have otherwise diverted tithing funds for profit-generating, non-charitable
 6   purposes.
 7         3.     Plaintiffs make these allegations upon personal knowledge as to themselves
 8   and their own acts and as to all other matters upon information and belief.
 9         4.     None of the allegations in this Class Action Complaint arise from the
10   religious beliefs, religious practices, religious doctrines, or organizational governance of
11   the Church of Jesus Christ of Latter-Day Saints (“LDS Church”) or its members. In other
12   words, this case has nothing to do with, and does not implicate, the First Amendment
13   and/or the Free Exercise Clause in the Constitution of the United States.
14         5.     Rather, the allegations in this Class Action Complaint arise solely from
15   specific public statements made by Defendant LDS Corporation, the corporate arm of the
16   LDS Church, EPA, and their agents and employees regarding the use of tithing funds for
17   commercial, for-profit business enterprises, including but not limited to City Creek
18   Center in Salt Lake City, Utah, and the sources for funding these commercial, for-profit
19   business enterprises, and the use of tithing funds to finance non-charitable purposes more
20   generally.
21         6.     Plaintiffs bring this action on behalf of themselves and all other Class
22   Members residing in the United States who paid monetary donations (“tithing” or “tithing
23   funds”) to Defendants whose tithing funds were used for commercial, for-profit purposes.
24         7.     Defendants’ use of tithing funds for commercial, for-profit purposes was and
25   is problematic insofar as it is diametrically opposed to representations made by
26   Defendants to the members of the Class. Specifically, from April 5, 2003 to October 5,
27   2012, Defendants and their agents and employees—including the president of the LDS
28   Church who was also a member of Defendant LDS Corporation—made repeated

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 1   representations, in both video broadcasts and print publications, to Plaintiffs and Class
 2   Members that tithing funds were not being used for commercial, for-profit purposes and
 3   in particular, and more specifically, were not being used to finance the purchase of land
 4   and development of City Creek Center mall (“City Creek Center”) in Salt Lake City,
 5   Utah. These statements were made in part because of concerns by LDS Church members
 6   that Defendant LDS Corporation was doing just that.
 7         8.     In December 2019, David Nielsen, a senior portfolio manager with
 8   Defendant Ensign Peak Advisors (“EPA”), a corporate entity that acted as the investment
 9   division of Defendant LDS Corporation, filed an IRS Whistleblower Complaint alleging
10   that Defendants had used $1.4 billion in tithing funds to finance City Creek Center.
11         9.     The IRS Whistleblower Complaint revealed that the $1.4 billion used to
12   finance City Creek Center, a for-profit business enterprise, was drawn from EPA’s
13   treasury account which contained never-invested tithing funds.
14         10.    David Nielsen further set forth in his IRS Whistleblower Complaint that the
15   LDS Church should lose its tax exempt status because the money was not used for
16   charitable purposes, noting that Defendants had amassed over $100 billion in assets while
17   not returning any money for religious, educational, or charitable purposes in twenty-two
18   (22) years to the LDS Church.
19         11.    The misrepresentations made by Defendant LDS Corporation through its
20   agents and employees—including the president and other high-ranking leaders of the
21   LDS Church—that tithing funds were not used to finance City Creek Center or other
22   commercial, for-profit purposes—were false, intentional, and made to induce Plaintiffs
23   and Class Members to continue paying tithing funds in spite of Defendants having
24   amassed $100 billion in assets and using member donations for commercial, for-profit
25   purposes and not the LDS Church’s published purposes.
26         12.    The situation with City Creek Center is demonstrative. Beginning in 2003,
27   Plaintiffs and Class Members became aware of suggestions that Defendant LDS
28   Corporation was using $1.4 billion to purchase and develop a property for a commercial,

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 1   for-profit purpose, City Creek Center, which contradicted the LDS Church’s published
 2   purposes for tithing; regardless, Plaintiffs and Class Members thereafter relied on the
 3   representations of high-ranking LDS Church leaders and employees that tithing funds
 4   were not being used to purchase or develop the City Creek Center property, and in
 5   reliance on those representations, Plaintiff and Class Members continued to pay ten
 6   percent (10%) of their incomes as tithing.
 7         13.    Furthermore, Plaintiffs and Class Members relied on Defendants as
 8   fiduciaries to use their donated tithing funds for charitable, not-for-profit purposes,
 9   including distribution to the poor and needy. Defendants’ failure to use donated tithing
10   funds in this fashion meant that Plaintiff and Class Members were unable to fulfill their
11   intentions, in part, for donating tithing funds. As a result, millions of dollars in charitable
12   donations never reached people in need, as intended by Plaintiffs and Class Members.
13         14.    Plaintiffs and Class Members would not have paid ten percent (10%) of their
14   incomes as tithing to Defendants had they known that their contributions would be used
15   for a commercial, for-profit purpose as opposed to the LDS Church’s published purposes
16   for tithing, including care for the poor and needy. Simply stated, tithing that ultimately
17   ends up solely benefitting the recipient in its for-profit ventures is not tithing at all.
18         15.    Plaintiffs’ and Class Members’ reasons for paying tithes have been
19   frustrated as a result of Defendants’ failure to use tithing funds for the LDS Church’s
20   published purposes, including care for the poor and needy.
21         16.    Plaintiffs and Class Members are entitled to compensation for tithing paid as
22   gifts to Defendants because, as donors, their intent was induced by fraud. Therefore,
23   Plaintiffs’ and Class Members’ gifts, in the form of tithing, may be rescinded or set aside
24   in an action in equity.
25         17.    Plaintiffs’ and Class Members’ monetary payments to Defendants, in the
26   form of tithing, resulted in Defendants receiving and retaining an unjust benefit which
27   must be disgorged.
28


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 1                                              PARTIES
 2            18.   Plaintiffs are married to each other, and have been citizens and residents of
 3   San Leandro, California at all relevant times.
 4            19.   Mr. Judson has been a member of the LDS Church since 1967, and Mrs.
 5   Judson has been a member since 1971.
 6            20.   Although Plaintiffs are not wealthy and have sometimes had very limited
 7   means, they until very recently routinely paid tithing to the LDS Church on an annual
 8   basis.
 9            21.   From 2003 to 2020, Plaintiffs collectively paid approximately $40,000 in
10   tithing to the LDS Church.
11            22.   Plaintiffs appear in this action individually and on behalf of all others
12   similarly situated (hereinafter “Class Members” or “Class”), and pursuant to Fed. R. Civ.
13   P. 23(a) and (b).
14            23.   Defendant Corporation of the President of the Church of Jesus Christ of Latter-
15   Day Saints (“LDS Corporation”) is a Utah corporation with its principal place of business
16   located at 50 E. North Temple Dr., 2WW, Salt Lake City, Salt Lake County, Utah 84150.
17            24.   Defendant Ensign Peak Advisors, Inc. (“Ensign,” “Ensign Peak,” or “EPA”) is
18   a Utah not-for-profit corporation with its principal place of business located at 60 E. South
19   Temple St., Ste. 400, Salt Lake City, Salt Lake County, Utah 84111.
20            25.   At all times relevant herein, as detailed more fully infra, Defendants were
21   engaged in a civil conspiracy with one another to redirect tithing funds to for-profit ventures
22   and the financial enrichment of the church itself rather than its charitable and religious
23   purposes, and to otherwise effectuate the scheme set forth herein.
24            26.   All acts and omissions of Defendants as described herein were done by their
25   agents, servants, employees and/or owners, acting in the course and scope of their
26   respective agencies, services, employments and/or ownership.
27
28


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 1                                   JURISDICTION AND VENUE
 2         27.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d),
 3   because at least once Class Member is of diverse citizenship from Defendants, there are
 4   more than one hundred (100) Class Members, and the aggregate amount in controversy
 5   exceeds $5,000,000 exclusive of costs and interest.
 6         28.    This Court has personal jurisdiction over Defendants pursuant to 28 U.S.C. §
 7   1391(a) because Defendants’ contacts with the State of California and this federal judicial
 8   district are systematic, continuous, and sufficient to subject them to personal jurisdiction
 9   in this Court. Specifically, Defendants worked in tandem to avail themselves of the
10   privilege of conducting business in the forum state by collecting tithing funds from LDS
11   Church members within the forum state. In addition, Defendants have maintained
12   systematic and continuous business contacts within the forum state, including business
13   contacts with their organizational units consisting of stakes, wards, and branches, and the
14   administrators of temples in San Diego, Feather River, Los Angeles, Newport Beach,
15   Oakland, Redlands, Sacramento, and Fresno, California.
16         29.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a
17   substantial portion of the acts and omissions alleged herein to have been committed by
18   Defendants occurred within this District, where the LDS Church has its second largest
19   temple. Moreover, the LDS Corporation is already defending against another similar
20   (albeit, non-class action) lawsuit in this district, entitled Huntsman v. Corporation of the
21   President of the Church of Jesus Christ of Latter-Day Saints, case no. 21-cv-02504 (“the
22   Huntsman case”).
23   //
24   //
25   //
26   //
27   //
28   //

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 1                              FACTS COMMON TO ALL COUNTS
 2
     Defendant LDS Corporation and its investment division, Defendant Ensign Peak
 3
     Advisors, have a storied history of intentionally concealing financial information
 4
 5          30.    On February 21, 2023, a press release titled, “SEC Charges The Church of
 6   Jesus Christ of Latter-day Saints and Its Investment Management Company for
 7   Disclosure Failures and Misstated Filings,” announced that the U.S. Securities and
 8   Exchange Commission (“SEC”) had found that Defendant LDS Corporation and its
 9   investment division, Defendant Ensign Peak Advisors (“Ensign Peak”), had created
10          31.    thirteen (13) shell LLCs to intentionally conceal Defendant LDS
11   Corporation’s investments:2
12          32.    Notably, the press release reported that “[t]he Church agreed to settle the
13   SEC’s allegation that it caused Ensign Peak’s violations through its knowledge and
14   approval of Ensign Peak’s use of the shell LLCs.”3
15          33.    In the Order Instituting Cease-and-Desist Proceedings Pursuant to Section
16   21C of the Securities Exchange Act of 1934, Making Findings, and Imposing A Cease-
17   and-Desist Order, the SEC found: 4
18          [T]he Church and Ensign Peak created thirteen limited liability corporations
            (“LLCs”), including twelve similar LLCs (the “Clone LLCs”) with addresses
19
            located throughout the U.S., for the sole purpose of filing Forms 13F and
20          preventing public disclosure by Ensign Peak of the Church’s equity securities
21          holdings.”
22          34.    The SEC concluded, “Ensign Peak developed its approach to filing Forms
23   13F in the names of these LLCs with the knowledge and approval of the Church,
24

25
     2
       SEC Charges The Church of Jesus Christ of Latter-day Saints and Its Investment Management
26   Company for Disclosure Failures and Misstated Filings, U.S. Securities and Exchange Commission
27   website, https://www.sec.gov/news/press-release/2023-35 (Last visited Nov. 14, 2023).
     3
       Id.
     4
28     Order Instituting Cease-and-Desist Proceedings Pursuant to Section 21C of the Securities Exchange
     Act of 1934, Making Findings, and Imposing A Cease-and-Desist Order, p. 2.
     https://www.sec.gov/files/litigation/admin/2023/34-96951.pdf (Last visited Nov. 14, 2023).
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 1   which sought to avoid disclosure of the amount and nature of its assets” (emphasis
 2   added).5
 3          35.    To settle the charges, Ensign Peak agreed to pay a $4 million penalty and
 4   the LDS Church agreed to pay a $1 million penalty.6
 5          36.    On February 21, 2023, the LDS Church issued an official statement on the
 6   SEC settlement.7 In the Frequently Asked Questions section of the statement, the
 7   following question and answer appeared:8
 8
 9
10
11
12
            37.    This statement unequivocally confirms that the LDS Church’s senior
13   leadership knew about the scheme to intentionally conceal Defendant LDS Corporation’s
14   investments. In addition, the statement reveals the evasive and disingenuous position
15   that the LDS Church had taken regarding this proceeding: senior leadership within the
16   LDS Church are sophisticated and experienced business managers who were well
17   aware—with or without legal counsel—that creating thirteen (13) shell companies and
18   filing Forms 13F in the names of these shell companies was a patently dishonest business
19   practice.
20          38.    The SEC action against the LDS Church and Ensign Peak reveals a pattern
21   of conduct and corporate culture that valued dishonesty and concealment over honesty
22   and transparency.
23          39.    Like in the aforementioned SEC action, in the present action brought by
24   Plaintiff and Class Members, Defendant LDS Corporation and its investment division,
25
26   5
       Id.
     6
27     Id. at p. 8.
     7
       Church Issues Statement on SEC Settlement, LDS Church website,
28   https://newsroom.churchofjesuschrist.org/article/church-issues-statement-on-sec-settlement (Last visited
     Nov. 14, 2023).
     8
       Id.
                                                        -9-
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 1    Defendant Ensign Peak, intentionally concealed financial information from LDS Church
 2    members and the public through misrepresentations.
 3
 4    The LDS Church repeatedly represented that tithing funds would be used for its
 5    published purposes: to build and maintain temples and meetinghouses, to sustain
 6    missionary work, to educate members, and to care for the poor and needy.
 7           40.    On its official website, the LDS Church represented and continues to
 8    represent:
 9
10           Tithing funds are always used for the Lord’s purposes—to build and maintain
11           temples and meetinghouses, to sustain missionary work, to educate Church
             members, and to carry on the work of the Lord throughout the world.9
12
13           41.    On October 5, 2002 during the LDS Church’s bi-annual General
14    Conference, Robert D. Hales, an “apostle”, which is one of fifteen (15) top-ranking
15    leaders who govern the LDS Church, stated:
16           All tithing funds are spent for the purposes of the Church, including welfare—
             care for the poor and needy—temples, buildings and upkeep of meetinghouses,
17
             education, curriculum—in short, the work of the Lord (emphasis added).10
18
19           42.    Robert D. Hales’ aforementioned statement during the October 2002 bi-

20    annual General Conference video broadcast was subsequently published in the LDS

21    Church’s official magazine, The Ensign, in November 2002.11

22           43.    In video broadcasts and print publications, the LDS Church represented to

23    Plaintiffs and Class Members that their tithing funds would be used solely for these

24
      9
        Tithing, LDS Church website, https://www.churchofjesuschrist.org/study/manual/gospel-
25
      topics/tithing?lang=eng (Last visited Nov. 14, 2023).
26    10
         Robert D. Hales, Tithing a Test of Faith with Eternal Blessings, Robert D. Hales, October 2002 bi-
      annual General Conference, https://www.churchofjesuschrist.org/study/general-
27
      conference/2002/10/tithing-a-test-of-faith-with-eternal-blessings?lang=eng (Last visited Nov. 14, 2023).
      11
28       Robert D. Hales, Tithing a Test of Faith with Eternal Blessings, The Ensign, November 2002,
      https://www.churchofjesuschrist.org/study/ensign/2002/11/tithing-a-test-of-faith-with-eternal-
      blessings?lang=eng (Last visited Nov. 14, 2023).
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 1    published purposes: to build and maintain temples and meetinghouses, to sustain
 2    missionary work, to educate members, and to care for the poor and needy.
 3           44.    Never at any time in video broadcasts and print publications did the LDS
 4    Church represent to Plaintiffs and Class Members that their tithing funds would be used
 5    for commercial, for-profit purposes.
 6           45.    Plaintiffs and Class Members paid tithing in reliance on the LDS Church’s
 7    representations that these funds would be used for its published purposes: to build and
 8    maintain temples and meetinghouses, to sustain missionary work, to educate members,
 9    and to care for the poor and needy.
10    The LDS Church repeatedly represented in video broadcasts and print publications
11    that tithing funds would not be used for commercial, for-profit purposes including
12    the financing of City Creek Center.
13
14           46.    On April 5, 2003, Gordon B. Hinckley, then acting president of the LDS
15    Church and member of Defendant LDS Corporation, made the following statement
16    during a bi-annual General Conference video broadcast:
17           I call attention to that which has received much notice in the local press. This is
             our decision to purchase the shopping mall property immediately to the south of
18
             Temple Square.
19
20                                               *     *     *
             But I wish to give the entire Church the assurance that tithing funds have not
21           and will not be used to acquire this property. Nor will they be used in developing
22           it for commercial purposes. Funds for this have come and will come from those
             commercial entities owned by the Church. These resources, together with the
23
             earnings of invested reserve funds, will accommodate this program.12
24

25           47.    Gordon B. Hinckley’s aforementioned statement during the April 2003 bi-
26    annual General Conference video broadcast was subsequently published in the LDS
27
      12
28       Gordon B. Hinckley, The Condition of the Church, Apr. 5, 2003, bi-annual General Conference,
      https://www.churchofjesuschrist.org/study/general-conference/2003/04/the-condition-of-the-
      church?lang=eng (Last visited Nov. 14, 2023).
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 1    Church’s official magazine, The Ensign, in May 2003.13
 2           48.    In a press conference on October 8, 2003, H. David Burton, then Presiding
 3    Bishop of the LDS Church and member of Defendant LDS Corporation, made similar
 4    representations regarding financing for the development of City Creek Center, stating
 5    “[n]one of this money comes from the tithing of our faithful members…That is not how
 6    we use tithing funds.”14
 7           49.    In December 2003, the LDS Church’s official magazine, The Ensign,
 8    published an article reiterating the same representation:
 9           The Church first announced three years ago it was planning to redevelop the
10           downtown area to energize the economy of the city that houses its headquarters
             and to bolster the area near Temple Square. No tithing funds will be used in the
11           redevelopment.15
12
             50.    On March 27, 2007, Deseret News, a Salt Lake City newspaper owned by
13
      Defendant LDS Corporation, published an article stating:
14
             Church officials have not said how much they expect the entire development to
15
             cost, though city officials and others have estimated it could be an investment of
16           $1 billion or more.
17
             Money for the project is not coming from LDS Church members’ tithing
18           donations. City Creek Center is being developed by Property Reserve Inc., the
19           church’s real-estate development arm, and its money comes from other real-estate
             ventures.16
20
21
22
      13
         Gordon B. Hinckley, The Condition of the Church, The Ensign, May 2003,
23    https://media.ldscdn.org/pdf/magazines/ensign-may-2003/2003-05-00-ensign-eng.pdf?lang=eng (Last
      visited Nov. 14, 2023).
24    14
         Lisa Ann Jackson, Church to Move Campuses, Invest in Salt Lake City Redevelopment, The Ensign,
25    December 2003, https://www.churchofjesuschrist.org/study/ensign/2003/12/news-of-the-church/church-
      to-move-campuses-invest-in-salt-lake-city-redevelopment?lang=eng (Last visited Nov. 14, 2023).
26    15
         Church Releases Plans for Downtown Salt Lake, The Ensign, December 2006,
27    https://www.churchofjesuschrist.org/study/ensign/2006/12/news-of-the-church/church-releases-plans-
      for-downtown-salt-lake?lang=eng (Last visited Nov. 14, 2023).
      16
28       Doug Smeath, Downtown renovation project, Deseret News, Mar. 27, 2007,
      https://www.deseret.com/2007/3/27/20785879/downtown-renovation-project (Last visited Nov. 14,
      2023).
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 1           51.    On October 5, 2012, Keith B. McMullin, formerly the second counselor in
 2    the LDS Church’s Presiding Bishopric and a former member of Defendant LDS
 3    Corporation, who at relevant times headed Deseret Management Corp., a company
 4    owned by Defendant LDS Corporation, represented in an interview for The Salt Lake
 5    Tribune newspaper that tithing funds had not, and would not, be used for commercial
 6    purposes including City Creek Center: “McMullin said not one penny of tithing goes to
 7    the Church’s for-profit endeavors. Specifically, the Church has said no tithing went
 8    toward City Creek Center.”17
 9           52.    In summary, from 2003 to 2012, high-ranking leaders of the LDS Church—
10    who were also members or former members of Defendant LDS Corporation—repeatedly
11    represented in video broadcasts and print publications that tithing funds would not be
12    used for commercial, for-profit purposes, including City Creek Center.
13
14    An IRS Whistleblower Complaint revealed that $1.4 billion in never-invested
15    tithing funds were used to finance City Creek Center.
16           53.    In December 2019, David Nielsen, a senior portfolio manager for Defendant
17    Ensign Peak Advisors (“Ensign Peak” or “EPA”), Defendant LDS Corporation’s
18    investment division, filed an IRS Whistleblower Complaint alleging that Defendants
19    used $1.4 billion in tithing funds to finance City Creek Center, a commercial, for-profit
20    shopping mall, and that Defendants should lose any tax exempt status because the money
21    was not used for charitable purposes.18
22           54.    In his Complaint, David Nielsen stated that EPA cut checks for $1.4 billion
23
      between 2010 to 2014 to cover construction costs for City Creek Center, noting that
24

25
26
27    17
         Caroline Winter, et al., The Money behind the Mormon message, Salt Lake City Tribune, Oct. 5, 2012
28    https://archive.sltrib.com/article.php?id=54478720&itype=cmsid (Last visited Nov. 14, 2023).
      18
         David Nielsen, Letter to an IRS Director, http://openargs.com/wp-content/uploads/IRS-Letter-
      Final.pdf (Last visited Nov. 14, 2023).
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 1    “EPA paid $1.4 billion exclusively using tithing dollars on a for-profit mall”:19
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             55.    David Nielsen further stated that “[t]hese checks were cut from the EPA
10
      treasury account, not from any liquidation of allocated capital. Only never-invested
11
      tithing surplus enters the EPA Treasury account”:20
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16           56.    David Nielsen explained the reasoning behind Defendants’ use of tithing
17    funds to finance City Creek Center:21
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23           57.    David Nielsen further stated that EPA—as the investment arm of Defendant
24    LDS Corporation—had not returned any funds to the LDS Church for religious,
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27    19
         Id. at p. 7.
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28       Id. at p. 7 and footnote h. Note that the acronym “COP” stands for “Corporation of the President” and
      refers to Defendant LDS Corporation.
      21
         Id. at p. 7, footnote g.
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 1    educational, or charitable purposes in twenty-two (22) years.22 In short, EPA “is the
 2    reserves of reserves” of Defendant LDS Corporation; Defendant LDS Corporation “does
 3    not draw down on it, and it has no mission—no liability stream, no schedule of activities,
 4    no plans for use, and no efforts to even model the future.”23
 5            58.     The IRS Whistleblower Complaint included EPA’s Articles of Incorporation
 6    as an exhibit, which stated, “[EPA’s] property is irrevocably dedicated to religious,
 7    educational, and charitable purposes meeting the requirements for exemption provided by
 8    Section 501c3 of the Internal Revenue Code.”24
 9            59.     Whether LDS Corporation and EPA violated Section 501c3 is a question for
10    the IRS which will not be addressed in this action; however, Defendant EPA, under the
11    direction of Defendant LDS Corporation, allegedly violated Defendant EPA’s published
12    Articles of Incorporation which sets forth that property would be used solely for
13    “religious, educational, and charitable purposes.”25
14
15    Defendants, through their agents, intentionally misrepresented financial
16    information to ensure that Plaintiffs and the Class continued to pay tithes to finance
17    the Church’s for-profit, commercial enterprises and in spite of Defendants having
18    amassed a $100 billion fund.
19
20            60.     Defendant LDS Corporation is comprised of the First Presidency of the LDS
21    Church, a governing body which includes the president or “prophet” of the LDS Church
22    and the two most senior “apostles,” along with the Presiding Bishopric, which is
23    comprised of three senior leaders entrusted with managing the finances and physical
24    facilities of the LDS Church.26
25
26
      22
27       Id. at pp. 2, 3, 8 and 28 footnote jjj.
      23
         Id. at p. 6.
      24
28       Id. at p. 45, Exhibit E.1.
      25
         Id.
      26
         Id. at p. 53, Exhibit I.
                                                     -15-
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 1           61.    As set forth above, on April 5, 2003, Gordon B. Hinckley, then acting
 2    president and “prophet” of the LDS Church, represented that “tithing funds have not
 3    and will not be used to acquire this property. Nor will they be used in developing it for
 4    commercial purposes” regarding the City Creek Center property. 27
 5           62.    At the time of this statement, Gordon B. Hinckley was a member of
 6    Defendant LDS Corporation.
 7           63.    As set forth above, on October 8, 2003, H. David Burton, then Presiding
 8    Bishop of the LDS Church, stated that “[n]one of this money comes from the tithing of
 9    our faithful members…That is not how we use tithing funds” regarding the financing for
10    City Creek Center.28
11           64.    At the time of this statement, H. David Burton was a member of Defendant
12    LDS Corporation.
13           65.    As set forth above, in December 2003, the LDS Church’s official magazine,
14    The Ensign, published an article reiterating that “[n]o tithing funds will be used in the
15    redevelopment” of City Creek Center.29
16           66.    As set forth above, on March 27, 2007, Deseret News, a Salt Lake City
17    newspaper owned by Defendant LDS Corporation, published an article stating, “[m]oney
18    for the project is not coming from LDS Church members’ tithing donations. City Creek
19    Center is being developed by Property Reserve Inc., the church’s real-estate development
20    arm, and its money comes from other real-estate ventures.”30
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22    27
         Gordon B. Hinckley, The Condition of the Church, Apr. 5, 2003, bi-annual General Conference,
23    https://www.churchofjesuschrist.org/study/general-conference/2003/04/the-condition-of-the-
      church?lang=eng (Last visited Nov. 14, 2023).
24    28
         Lisa Ann Jackson, Church to Move Campuses, Invest in Salt Lake City Redevelopment, The Ensign,
25    December 2003, https://www.churchofjesuschrist.org/study/ensign/2003/12/news-of-the-church/church-
      to-move-campuses-invest-in-salt-lake-city-redevelopment?lang=eng (Last visited Nov. 14, 2023).
26    29
         Church Releases Plans for Downtown Salt Lake, The Ensign, December 2006,
      https://www.churchofjesuschrist.org/study/ensign/2006/12/news-of-the-church/church-releases-plans-
27
      for-downtown-salt-lake?lang=eng (Last visited Nov. 14, 2023).
      30
28       Doug Smeath, Downtown renovation project, Deseret News, Mar. 27, 2007,
      https://www.deseret.com/2007/3/27/20785879/downtown-renovation-project (Last visited Nov. 14,
      2023).
                                                       -16-
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 1           67.    As set forth above, on October 5, 2012, Keith B. McMullin, formerly the
 2    second counselor in the LDS Church’s Presiding Bishopric, was quoted in the The Salt
 3    Lake Tribune newspaper: “McMullin said not one penny of tithing goes to the Church’s
 4    for-profit endeavors. Specifically, the Church has said no tithing went toward City Creek
 5    Center.”31
 6           68.    At the time of this statement, Keith B. McMullin was a former member of
 7    Defendant LDS Corporation. Critically, Defendant LDS Corporation had already made
 8    payments drawn from the EPA treasury account containing never-invested tithing funds
 9    when this statement was made.32
10           69.    The intent behind the aforementioned misrepresentations by Defendant LDS
11    Corporation’s agents was subsequently revealed by the head of EPA, Roger Clarke, in an
12    interview published on February 8, 2020, in the The Wall Street Journal. In that
13    interview, Roger Clarke reportedly said, “[w]e’ve tried to be somewhat anonymous”
14    regarding the LDS Church’s investments.33
15           70.    Roger Clarke further stated that the reason the LDS Church kept silent on its
16    $100 billion dollar fund was “[s]o they never wanted to be in a position where people felt
17    like, you know, they shouldn’t make a contribution.”34
18
19    A Central District of California case alleges similar facts and legal theories and
20    incorporates a sworn statement by David Nielsen that further evidences Defendants’
21    misrepresentations.
22
23
24    31
         Caroline Winter, et al., The Money behind the Mormon message, Salt Lake City Tribune, Oct. 5, 2012
25    https://archive.sltrib.com/article.php?id=54478720&itype=cmsid (Last visited Nov. 14, 2023).
      32
         David Nielsen, Letter to an IRS Director, at p. 8, http://openargs.com/wp-content/uploads/IRS-Letter-
26    Final.pdf (Last visited Nov. 14, 2023).
      33
27       Ian Lovett and Rachael Levy, The Mormon Church Amassed $100 Billion. It Was the Best-Kept
      Secret in the Investment World, The Wall Street Journal, Feb. 8, 2020, https://www.wsj.com/articles/the-
28    mormon-church-amassed-100-billion-it-was-the-best-kept-secret-in-the-investment-world-11581138011
      (Last visited Nov. 14, 2023).
      34
         Id.
                                                          -17-
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 1           71.    On March 22, 2021, California resident James Huntsman filed the Huntsman
 2    case in the Central District of California alleging similar facts and legal theories as
 3    alleged in the present action.35
 4           72.    James Huntsman is the son of the late businessman and LDS Church leader
 5    Jon Huntsman Sr. and brother of former Utah governor and U.S. presidential candidate
 6    Jon Huntsman Jr.36
 7           73.    The Huntsman case is not a putative class action, but an action where an
 8    individual plaintiff is demanding a minimum refund of $5 million in tithing funds based
 9    on the facts revealed in David Nielsen’s IRS Whistleblower Complaint.37
10           74.    In response to Defendant LDS Corporation’s Motion for Summary
11    Judgment, Plaintiff James Huntsman incorporated a sworn declaration by David Nielsen,
12    wherein Nielsen set forth additional facts evidencing Defendant LDS Corporation’s use
13    of tithing funds to finance City Creek Center and Defendant LDS Corporation’s
14    deceptive intention to withhold this fact from the members of the LDS Church:38
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25       Huntsman v. Corporation of the President of the Church of Jesus Christ of Latter-Day Saints, case no.
      21-cv-02504, Complaint, [Doc. 1].
      36
26       Michelle Boorstein, He was Mormon royalty. Now his lawsuit against the church is a rallying cry,
      Washington Post, Sept. 9, 2023, https://www.washingtonpost.com/religion/2023/09/09/he-was-mormon-
27    royalty-now-his-lawsuit-against-church-is-rallying-cry/?=undefined (Last visited Nov. 14, 2023).
      37
28       Huntsman, Complaint, [Doc. 1].
      38
         Huntsman, Declaration of David A. Nielsen in Support of Plaintiff’s Opposition to Defendant’s
      Motion for Summary Judgment, ¶¶8-9 [Doc. 37].
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11              75.     An image of Exhibit A appears below:39
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           Id. at Exhibit A.
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 1              76.      In paragraph 10 of his sworn declaration, David Nielsen stated that he
 2    “asked how the Church’s public statements about no tithing funds being used for City
 3    Creek Mall or Beneficial Life could be consistent with Mr. Clarke’s description of how
 4    EPA had made ‘withdrawals’ for ‘City Creek: $1,400 mm over 5 years’ and ‘Beneficial
 5    Life: $600mm in 2009’”.40 Roger Clarke, head of EPA, “responded that two other
 6    Church-affiliated entities (Property Reserve, Inc. and Deseret Management Corporation)
 7    had received from EPA the $1.4 billion and $600 million, respectively, paid by EPA for
 8    City Creek Mall and Beneficial Life”:41
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                77.      Notably, in the last sentence of paragraph 10, David Nielsen stated that
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      Roger Clarke made clear that Defendants’ intentions were to conceal that EPA was the
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           Id. at ¶10.
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           Id.
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 1    source of the funds: “Mr. Clarke stated that it was important that people should not know
 2    EPA’s role as the source of the funds.”42
 3           78.    The transfer of $1.4 billion of never-invested tithing funds from the EPA
 4    treasury account to Property Reserve, Inc. and Deseret Management Corporation was
 5    nothing more than a shell game to hide from the public and LDS Church members the
 6    source of the funds for the purchase and development of the City Creek Center property.
 7           79.    Defendant EPA’s funding of these projects explicitly contradicted
 8    statements of high-ranking LDS Church leaders, including the president of the LDS
 9    Church, that the funds were coming from other entities owned by Defendant LDS
10    Corporation.43
11           80.    David Nielsen concluded his sworn statement by declaring that “all of
12    EPA’s funds were tithing funds and were treated by EPA as tithing funds:”44
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24    42
         Id.
      43
25       Gordon B. Hinckley, The Condition of the Church, Apr. 5, 2003, bi-annual General Conference,
      https://www.churchofjesuschrist.org/study/general-conference/2003/04/the-condition-of-the-
26    church?lang=eng (Last visited Nov. 14, 2023); see also Doug Smeath, Downtown renovation project.
27    Deseret News, Mar. 27, 2007, https://www.deseret.com/2007/3/27/20785879/downtown-renovation-
      project (Last visited Nov. 14, 2023).
      44
28       Huntsman, Declaration of David A. Nielsen in Support of Plaintiff’s Opposition to Defendant’s
      Motion for Summary Judgment, ¶11 [Doc. 37].

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 1    Defendants’ representations induced Plaintiffs and Class Members to continue
 2    paying tithes and frustrated Plaintiffs’ and Class Members’ reasons for paying
 3    tithes.
 4          81.    Plaintiff Gene Judson has been a member of the LDS Church since 1967,
 5    and Plaintiff Michelle Judson has been a member since 1971.
 6          82.    From 2003 to 2020, Plaintiffs collectively paid approximately $40,000 in
 7    tithing to the LDS Church.
 8          83.    While living in California, Plaintiffs routinely watched the LDS Church’s bi-
 9    annual General Conference and/or read the LDS Church’s official magazine, The Ensign
10    wherein Defendant LDS Corporation made misrepresentations that tithing funds were not
11    being used for commercial, for-profit purposes and in particular, were not being used to
12    finance the purchase of land and development of City Creek Center in Salt Lake City,
13    Utah as set forth above.
14          84.    In making their annual tithing payments to the LDS Church, Plaintiffs relied
15    on their understanding (supported by the repeated representations by high-ranking LDS
16    Church leaders) that tithing funds would only be used for the LDS Church’s published
17    purposes: to educate its members, conduct missionary work, build and maintain
18    meetinghouses and temples, and perform charitable work including care for the poor and
19    needy.
20          85.    Plaintiffs continued to rely on representations made by high-ranking LDS
21    Church leaders in print publications and video broadcasts that tithing funds would not be
22    used for commercial, for-profit purposes, including the financing of City Creek Center.
23          86.    The misrepresentations made by Defendants through their agents and
24    employees—including the president of the LDS Church and other high-ranking LDS
25    Church leaders who were also members of Defendant LDS Corporation—that tithing
26    funds would not be used to finance City Creek Center or other commercial, for-profit
27    purposes were false, intentional, and made to induce Plaintiffs and Class Members to pay
28    tithing funds in spite of Defendants having amassed a $100 billion fund.

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 1          87.    Plaintiffs and Class Members would not have paid ten percent (10%) of their
 2    incomes as tithing had they known that their contributions would be used for a
 3    commercial, for-profit purpose as opposed to the LDS Church’s published purposes for
 4    tithing funds: to educate its members, conduct missionary work, build and maintain
 5    meetinghouses and temples, and to care for the poor and needy.
 6          88.    Plaintiffs and Class Members are entitled to compensation for tithing funds
 7    paid as gifts to Defendants because, as donors, their intent was induced by fraud.
 8          89.    Plaintiffs’ and Class Members’ gifts, in the form of tithing funds must be
 9    rescinded.
10          90.    Importantly, Plaintiffs and Class Members relied on Defendants as
11    fiduciaries to distribute their donated tithing funds to the poor and needy.
12          91.    Defendants’ failure to distribute their donated tithing funds to the poor and
13    needy meant that Plaintiff and Class Members were unable to fulfill their intentions, in
14    part, for donating tithing funds. As a result, millions of dollars in charitable donations
15    never reached people in need.
16          92.    Plaintiffs’ and Class Members’ reasons for membership in Defendant LDS
17    Corporation’s organization have been frustrated as a result of Defendants’ failure to use
18    tithing funds for the LDS Church’s published purposes, including care for the poor and
19    needy.
20          93.    Plaintiffs’ and Class Members’ payment of tithing has resulted in
21    Defendants receiving and retaining an unjust benefit which must be disgorged.
22    Plaintiff discovers Defendants’ fraud
23          94.    On May 14, 2023, the iconic CBS News program 60 Minutes aired an
24    interview with IRS Whistleblower David Nielsen titled, “Mormon Whistleblower:
25    Church’s Investment Firm Masquerades as Charity”, wherein he discussed the facts set
26    forth in the aforementioned IRS Whistleblower Complaint.45
27
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        Mormon whistleblower: Church’s investment firm masquerades as charity, 60 Minutes, May 14,
      2023, https://www.youtube.com/watch?v=k3_Fhq7sEHo&t=6s (Last visited Nov. 14, 2023).
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 1          95.     Plaintiffs watched the 60 Minutes interview with David Nielsen, and learned
 2    for the first time the specific details comprising the fraudulent scheme perpetuated by
 3    Defendants.
 4                     TOLLING OF THE STATUTE OF LIMITATIONS
 5    Discovery Rule Tolling
 6          96.     Plaintiffs and Class Members could not have discovered through reasonable
 7    diligence that Defendants had used tithing funds for a commercial, for-profit purpose—
 8    the financing of City Creek Center—which was contrary to Defendant LDS
 9    Corporation’s representations, within the time period of any applicable statutes of
10    limitation.
11          97.     Plaintiffs and Class Members did not know, and could not have reasonably
12    known, of Defendants’ fraud until in or around May 14, 2023 when 60 Minutes, a
13    nationally broadcasted and well-known news program, aired the interview with IRS
14    Whistleblower David Nielsen. Therefore, Plaintiffs’ claims and the claims of all Class
15    Members did not accrue until they discovered that Defendants had used tithing funds for
16    a commercial, for-profit purpose—to finance City Creek Center—contrary to Defendant
17    LDS Corporation’s repeated representations and the LDS Church’s published purposes.
18    Fraudulent Concealment Tolling
19          98.     Throughout the time period relevant to this action, Defendants concealed
20    from and failed to disclose to Plaintiffs and the other Class Members Defendants’ use of
21    $1.4 billion in tithing funds for a commercial, for-profit purpose—the financing of City
22    Creek Center. Defendants kept Plaintiffs and the other Class Members ignorant of vital
23    information essential to the pursuit of their claims, and as a result, neither Plaintiffs nor
24    the other Class members could have discovered Defendants’ fraud, even upon reasonable
25    exercise of diligence.
26          99.     Prior to the date of this Complaint, Defendants knew they had used tithing
27    funds to support non-charitable, profit-generating endeavors—including $1.4 billion in
28    tithing funds to finance City Creek Center while representing to Plaintiff and Class

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 1    Members they had not—but made no effort to reveal this information. In doing so,
 2    Defendants concealed from or failed to notify Plaintiff and the other Class members
 3    about the improper use of tithes, including but not limited to the use of $1.4 billion in
 4    tithing funds to finance City Creek Center.
 5          100. Plaintiffs and the other Class Members justifiably relied on Defendants to
 6    disclose that they had used $1.4 billion in tithing funds for a commercial, for-profit
 7    purpose, as such facts were hidden and not discoverable through reasonable efforts by
 8    Plaintiffs and the other Class Members.
 9          101. Thus, the running of all applicable statutes of limitation have been tolled and
10    suspended with respect to any claims that the Plaintiffs and the other Class Members
11    have sustained as a result of Defendants’ fraud by virtue of the fraudulent concealment
12    doctrine.
13
14    Estoppel
15          102. Defendants were under a continuous duty to disclose to Plaintiffs and the
16    other Class Members that they had used tithing funds, for a commercial, for-profit
17    purpose—including $1.4 billion for the financing of City Creek Center—contrary to
18    Defendant LDS Corporation’s representations and the LDS Church’s published purposes.
19    Defendants actively concealed this fact, and Plaintiffs and the other Class Members
20    reasonably relied upon Defendants’ knowing and active concealment of these facts.
21    Defendants are accordingly estopped from relying on any statute of limitations in defense
22    of this action. For these same reasons, Defendants are estopped from relying upon any
23    limitations in defense of this action.
24

25                                  CLASS ACTION ALLEGATIONS
26          103. Pursuant to Fed. R. Civ. P. 23, Plaintiffs bring this action on behalf of
27    themselves and on behalf of a Nationwide Class, defined as:
28


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 1                                           Nationwide Class
 2                           All persons within the United States (including its
 3                           Territories and the District of Columbia) who paid tithing
                             to the LDS Church from a time to be determined but no
 4                           later than April 5, 2003 through the present.
 5
 6           104. In the alternative to the Nationwide Class, and pursuant to Fed. R. Civ. P.
 7    23(5), Plaintiffs seek to represent the following State Class as well as any subclasses or
 8    issue classes as Plaintiffs may propose and/or the Court may designate at the time of
 9    class certification:
10                                            California Class
11
                             All persons and entities within the State of California
12
                             who paid tithing to the LDS Church from a time to be
13                           determined but no later than April 5, 2003 through the
                             present.
14
15           105. Excluded from all classes are Defendants, as well as Defendants’
16    employees, affiliates, officers, and directors, and the judge and court staff to whom this
17    case is assigned.
18           106. Plaintiffs reserve the right to modify and/or add to the Nationwide Class
19    and/or State Class prior to class certification.
20
21    Fed. R. Civ. P. 23(a) Prerequisites
22           107. Numerosity. Both the Nationwide Class and State Class are so numerous
23    that joinder of all members is impracticable. Although the precise number of Class
24    Members is unknown and is within the exclusive control of Defendants, upon
25    information and belief, Defendants’ wrongful conduct as set forth above was directed at
26    millions of Class Members in the United States, including tens of thousands in the State
27    of California.
28


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 1          108. Commonality. The claims of Plaintiffs and the Nationwide Class and State
 2    Class involve common questions of fact and law that will predominate over any
 3    individual issues. These common questions include, but are not limited to:
 4          a.     Whether Defendant LDS Corporation represented to Plaintiffs and the Class
 5    that tithing funds were only used for the LDS Church’s published purposes;
 6          b.     Whether Defendant LDS Corporation represented to Plaintiffs and the Class
 7    that tithing funds would not be used for any commercial, for-profit purpose including the
 8    financing of City Creek Center;
 9          c.     Whether Defendants knew or should have known that representations to
10    Plaintiffs and the Class that tithing funds would only be used for the LDS Church’s
11    published purposes were false at the time these representations were made;
12          d.     Whether Defendants knew or should have known that representations to
13    Plaintiffs and the Class that tithing funds would not be used for a commercial, for-profit
14    purpose— including the financing of City Creek Center—were false at the time the
15    representations were made;
16          e.     Whether Defendant LDS Corporation’s representations constitute material
17    facts that reasonable Class Members would have considered in deciding to pay tithing;
18          f.     Whether Defendants used tithing funds for commercial, for-profit purposes,
19    including the financing of City Creek Center;
20          g.     Whether the funds to finance City Creek Center were drawn from EPA’s
21    accounts containing uninvested tithing funds and/or tithing funds comingled with
22    earnings from principal;
23          h.     Whether $1.4 billion of never-invested tithing funds, or tithing funds
24    comingled with earnings from principal, were transferred from EPA to Property Reserve,
25    Inc. and/or Deseret Management Corporation;
26          i.     Whether this transfer of $1.4 billion of never-invested tithing funds, or
27    tithing funds comingled with earnings from principal, from EPA to Property Reserve,
28    Inc. and/or Deseret Management Corporation was deliberately concealed from Plaintiff

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 1    and the Class;
 2          j.     Whether Defendant LDS Corporation’s representations that tithing funds
 3    would not be used for a commercial, for-profit purpose, including the financing of City
 4    Creek Center, were made to intentionally deceive Plaintiff and the Class resulting in
 5    continued tithing donations to Defendants;
 6          k.     Whether Defendants’ conduct violates California consumer protection
 7    statutes and other laws as asserted herein;
 8          l.     Whether Plaintiff and the Class are entitled to equitable relief, including but
 9    not limited to, restitution; and
10          m.     Whether Plaintiff and the Class are entitled to damages and other monetary
11    relief and, if so, in what amount.
12          109. Typicality. Plaintiffs’ claims are typical of a Nationwide Class or State
13    Class members’ claims. As described herein, Plaintiffs and the Class paid ten percent
14    (10%) of their incomes, known as tithing, based in part on Defendant LDS Corporation’s
15    representations that tithing funds would be used for the LDS Church’s published
16    purposes, which were and are to build and maintain temples and meetinghouses, to
17    sustain missionary work, to educate members, and to perform charitable work including
18    care for the poor and needy, and that tithing funds would not be used for commercial,
19    for-profit purposes, including the financing of City Creek Center.
20          110. Plaintiffs and Class Members have incurred similar losses based on the same
21    legal theories, and the factual basis for Defendants’ wrongful conduct is common to all
22    class members and is representative of wrongful conduct resulting in harm common to all
23    Nationwide Class or State Class Members.
24          111. Adequacy. Plaintiffs will fully and adequately represent and protect the
25    interests of the Nationwide Class or State Class because they share common interests
26    with Class Members as a result of Defendants’ wrongful conduct.
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 1             112. Plaintiffs have retained counsel with extensive litigation experience and the
 2    ability to successfully prosecute this case on behalf of Plaintiffs and the Class. Plaintiffs
 3    and Plaintiffs’ counsel are committed to vigorously prosecuting this action on behalf of
 4    the Members of Classes.
 5
 6    Fed. R. Civ. P. 23(b) Requirements
 7             113. Defendants have acted or refused to act on grounds generally applicable to
 8    all the members of the Class, thereby making final injunctive relief or declaratory relief
 9    concerning the Class as a whole appropriate.
10             114. Predominance. Questions of law and fact common to the Nationwide Class
11    or State Class predominate over questions affecting individual members. A class action
12    is superior to other available methods for the fair and efficient adjudication of this
13    controversy. Individual damages on the matter can be readily calculated from records
14    maintained by the Defendants. Therefore, the questions of individual damages will not
15    predominate over legal and factual questions common to the Nationwide Class or State
16    Class.
17             115. Superiority. Defendants’ wrongful conduct treated LDS members as a class
18    to be uniformly deceived. A class action is thus superior to all other available methods
19    for the fair and efficient adjudication of this controversy. Plaintiffs and Class Members
20    have suffered economic harm as a result of Defendants’ unlawful and wrongful conduct,
21    which was directed toward Class Members as a whole rather than specifically or uniquely
22    against any individual Class Members. While individual damages in this case are not
23    insubstantial, there are still significant economies of scale that can be realized by
24    handling this case on a class wide basis, inuring to the benefit of all Class Members and
25    maximizing their recoveries. Furthermore, piecemeal litigation of these individual claims
26    in different courts around the country raises the possibility of inconsistent outcomes.
27             116. Declaratory and Equitable Relief. Class wide declaratory and equitable
28    relief is appropriate under Rule 23(b)(1) and/or (b)(2) because Defendants have acted on

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 1    grounds that apply generally to the Class, and inconsistent adjudications with respect to
 2    Defendants’ liability would establish incompatible standards and substantially impair or
 3    impede the ability of Class Members to protect their interests. Class wide relief and
 4    Court supervision under Rule 23 assures fair, consistent, and equitable treatment and
 5    protection of all Class Members, and uniformity and consistency in Defendants’
 6    discharge of their duties to perform corrective action.
 7                                      CAUSES OF ACTION
 8                                            COUNT I
 9      (Fraudulent Misrepresentation on behalf of the Nationwide Class or State Class)
10           117. Plaintiffs incorporate by reference all material facts in this Complaint as if
11    fully set forth herein.
12           118. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
13    or Statewide Class.
14           119. As alleged above in ¶¶30-102, Defendant LDS Corporation made false
15    statements of material fact that tithing funds would only be used for the LDS Church’s
16    published purposes and would not be used for a commercial, for-profit purpose—the
17    financing of City Creek Center.
18           120. Plaintiffs and the Class have pleaded their claim of fraudulent
19    misrepresentation with specificity in ¶¶30-102 pursuant to Rule 9(b).
20           121. Defendant LDS Corporation made misrepresentations of material fact to
21    Plaintiffs and the Class that tithing funds would not be used for commercial, for-profit
22    purposes including the financing of City Creek Center in video broadcasts and print
23    publications:
24                  a.      on April 5, 2003, Gordon B. Hinckley, then acting president of the
25           LDS Church and member of Defendant LDS Corporation, stated during the LDS
26           Church’s video-broadcasted bi-annual April 2003 General Conference that tithing
27
             funds would not be used to acquire the property or develop City Creek Center and
             that the funds for financing City Creek Center would come from “commercial
28
             entities”:

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 1                But I wish to give the entire Church the assurance that tithing funds have
 2                not and will not be used to acquire this property. Nor will they be used in
 3                developing it for commercial purposes. Funds for this have come and will
 4                come from those commercial entities owned by the Church. These
 5                resources, together with the earnings of invested reserve funds, will
 6                accommodate this program.
 7                b.     in May 2003, Gordon B. Hinckley’s aforementioned statement made
 8          on April 5, 2003 during the April 2003 bi-annual General Conference video
 9          broadcast was published in the LDS Church’s official magazine, The Ensign;
10                c.     in a press conference on October 8, 2003, H. David Burton, then
11          Presiding Bishop of the LDS Church and member of Defendant LDS Corporation,
12          stated in regard to the financing of City Creek Center, “[n]one of this money
13          comes from the tithing of our faithful members…That is not how we use tithing
14          funds”;
15                d.     in December 2003, the LDS Church’s official magazine, The Ensign,
16          published an article on City Creek Center, stating, “[n]o tithing funds will be used
17          in the redevelopment”;
18                e.     on March 27, 2007, Deseret News, a Salt Lake City newspaper owned
19          by Defendant LDS Corporation, published an article stating:
20                Church officials have not said how much they expect the entire development
21                to cost, though city officials and others have estimated it could be an
22                investment of $1 billion or more. Money for the project is not coming from
23                LDS Church members’ tithing donations.
24          and
25                f.     on October 5, 2012, Keith B. McMullin, formerly the second
26          counselor in the LDS Church’s Presiding Bishopric and former member of
27          Defendant LDS Corporation, represented during an interview for The Salt Lake
28          Tribune newspaper that tithing funds had not, and would not, be used for

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 1                  commercial purposes including City Creek Center: “McMullin said not one
 2                  penny of tithing goes to the Church’s for-profit endeavors. Specifically, the
 3                  Church has said no tithing went toward City Creek Center.”
 4           122. Defendants represented that the aforementioned facts, which were
 5    important, were true.
 6           123. The representations were false because Defendants knew the funds to
 7    finance City Creek Center would be withdrawn from the EPA treasury account—a
 8    source that contained never-invested tithing funds.
 9           124. Defendants knew the representations were false when Defendants made the
10    representations, or Defendants made the representations recklessly and without regard
11    for their truth.
12           125. Defendants’ intentional misrepresentations contradicted the LDS Church’s
13    published purposes for tithing funds, which were and are to educate its members,
14    conduct missionary work, build and maintain meetinghouses and temples, and to perform
15    charitable work including care for the poor and needy.
16           126. Defendants had an intent to defraud Plaintiffs and the Class and to induce
17    reliance on Defendant LDS Corporation’s misrepresentations. Defendants knew that
18    Plaintiffs and the Class would not have paid tithing, or would have been less likely to
19    pay tithing, had Plaintiffs and the Class known that their tithing funds were not being
20    used for the LDS Church’s published purposes.
21           127. Defendants knew that Plaintiffs and the Class would not have paid tithing,
22    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
23    their tithing funds were being used for commercial, for-profit purposes, including the
24    financing of City Creek Center.
25           128. Plaintiffs and the Class reasonably relied on Defendant LDS Corporation’s
26    misrepresentations because Defendants were in a superior position over Plaintiffs and the
27    Class to know how tithing funds were being used; Plaintiffs and the Class were not
28    aware and could not have determined that tithing funds were being used for a

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 1    commercial, for-profit purpose; and Plaintiffs and the Class looked toward Defendants as
 2    fiduciaries to administer tithing funds according to the LDS Church’s published
 3    purposes, including care for the poor and needy.
 4           129. As a result, Plaintiffs and the Class were damaged by paying ten percent
 5    (10%) of their incomes as tithing when Plaintiffs and the Class would not have paid
 6    tithing, or would have been less likely to pay tithing, had they known that Defendants
 7    were not using tithing for the LDS Church’s published purposes.
 8           130. Defendants are liable to Plaintiffs and Class Members for damages in an
 9    amount to be proven at trial.
10           131. Defendants acted with malice and fraud, and with intent to defraud Plaintiffs
11    and Class members for the purpose of enriching themselves at Plaintiffs’ and Class
12    members’ detriment; therefore, Defendants’ conduct warrants substantial punitive and
13    exemplary damages in an amount to be determined at trial.
14                                            COUNT II
15         (Fraudulent Concealment on behalf of the Nationwide Class or State Class)
16           132. Plaintiffs incorporate by reference all material facts in this Complaint as if
17    fully set forth herein.
18           133. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
19    or Statewide Class.
20           134. As alleged above in ¶¶30-102, Defendants concealed material facts under
21    circumstances that created a duty to disclose by using tithing funds for a commercial,
22    for-profit purpose—the financing of City Creek Center—when Defendant LDS
23    Corporation made repeated representations to Plaintiffs and the Class that tithing funds
24    would only be used for the LDS Church’s published purposes.
25           135. Defendants concealed a material fact because Defendants knew the funds to
26    finance City Creek Center would be withdrawn, or already had been withdrawn, from the
27    EPA treasury account—a source that contained never-invested tithing funds.
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 1          136. Defendants’ intentional misrepresentations and actual knowledge that their
 2    use of tithing funds contradicted the LDS Church’s published purposes for tithing funds,
 3    which were and are to educate its members, conduct missionary work, build and
 4    maintain meetinghouses and temples, and to perform charitable work including care for
 5    the poor and needy, and created confusion about the use of tithing funds.
 6          137. Defendants’ silence on these points was intended to induce a false belief
 7    among Plaintiff and the Class and to induce reliance. Defendants knew that Plaintiffs
 8    and the Class would not have paid tithing, or would have been less likely to pay tithing,
 9    had Plaintiffs and the Class known that their tithing funds were not being used for the
10    LDS Church’s published purposes.
11          138. Defendants knew that Plaintiffs and the Class would not have paid tithing,
12    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
13    their tithing funds were being used for commercial, for-profit purposes, including the
14    financing of City Creek Center.
15          139. Defendants knew that Plaintiffs and the Class would not have paid tithing,
16    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
17    Defendants had amassed billions of dollars in cash surplus. As set forth above, on
18    February 8, 2020, The Wall Street Journal reported that the head of Defendant EPA,
19    Roger Clarke, stated, “[w]e’ve tried to be somewhat anonymous” regarding the LDS
20    Church’s investments, and the reason Defendants kept silent on the $100 billion dollar
21    fund was “[s]o they never wanted to be in a position where people felt like, you know,
22    they shouldn’t make a contribution.”
23          140. Plaintiffs and the Class could not have discovered the truth through
24    reasonable inquiry or inspection because Defendants were in a superior position over
25    Plaintiffs and the Class to know how tithing funds were being used and Plaintiffs and the
26    Class could not have discovered the transactions made by Defendant EPA. Therefore,
27    Plaintiffs and the Class were not aware and could not have determined that tithing funds
28    were being used for a commercial, for-profit purpose.

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 1           141. Plaintiffs and the Class reasonably relied on the Defendants’ concealment as
 2    a representation that Defendants had not used never-invested tithing funds to finance
 3    City Creek Center.
 4           142. This concealed information was such that Plaintiffs and the Class would
 5    have acted differently had they been aware. As set forth above, Plaintiffs and the Class
 6    would not have paid tithing, or would have been less likely to pay tithing, had Plaintiff
 7    and the Class known that their tithing funds were being used for commercial, for-profit
 8    purposes—including the financing of City Creek Center—and not for the LDS Church’s
 9    published purposes.
10           143. As a result of their reliance on Defendants’ concealment, Plaintiffs and the
11    Class were damaged by paying ten percent (10%) of their incomes as tithing when
12    Plaintiffs and the Class would not have paid tithing, or would have been less likely to
13    pay tithing, had they known that Defendants were not using tithing for the LDS Church’s
14    published purposes.
15           144. Defendants are liable to Plaintiffs and Class Members for damages in an
16    amount to be proven at trial.
17           145. Defendants acted with malice and fraud, and with intent to defraud Plaintiffs
18    and Class members for the purpose of enriching themselves at Plaintiffs’ and Class
19    Members’ detriment; therefore, Defendants’ conduct warrants substantial punitive and
20    exemplary damages in an amount to be determined at trial.
21                                           COUNT III
22       (Negligent Misrepresentation on behalf of the Nationwide Class or State Class)
23           146. Plaintiffs incorporate by reference all material facts in this Complaint as if
24    fully set forth herein.
25           147. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
26    or Statewide Class.
27           148. In the alternative to Plaintiffs’ claims for fraudulent misrepresentation set
28    forth in Count I and fraudulent concealment set forth in Count II above, Plaintiffs allege

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 1    a claim of negligent misrepresentation.
 2          149. As alleged above, Defendant LDS Corporation made false statements of
 3    material fact that Defendant LDS Corporation was careless or negligent in ascertaining
 4    the truth of the statements when making them.
 5          150. Defendant LDS Corporation made misrepresentations of material fact to
 6    Plaintiffs that tithing funds would not be used for commercial, for-profit purposes
 7    including the financing of City Creek Center in video broadcasts and print publications,
 8    as detailed herein supra.
 9          151. Defendant LDS Corporation made these misrepresentations without
10    reasonable ground for believing them to be true because the funds would be withdrawn,
11    or already had been withdrawn, from the EPA treasury account—a source that contained
12    never-invested tithing funds.
13          152. Defendants made these misrepresentations with the intent to induce
14    Plaintiffs’ and the Class’s reliance on the facts misrepresented.
15          153. Defendants knew that Plaintiffs and the Class would not have paid tithing,
16    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
17    their tithing funds were not being used for the LDS Church’s published purposes.
18          154. Defendants knew that Plaintiffs and the Class would not have paid tithing,
19    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
20    their tithing funds were being used for commercial, for-profit purposes, including the
21    financing of City Creek Center.
22          155. Defendants knew that Plaintiffs and the Class would not have paid tithing,
23    or would have been less likely to pay tithing, had Plaintiffs and the Class known that
24    Defendants had amassed billions of dollars in cash surplus.
25          156. Plaintiff and the Class justifiably relied on the truth of Defendant LDS
26    Corporation’s statements because Defendants were in a superior position over Plaintiff
27    and the Class to know how tithing funds were being used; Plaintiff and the Class were
28    not aware and could not have determined that tithing funds were being used for

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 1    commercial, for-profit purposes, and Plaintiff and the Class looked toward Defendants as
 2    fiduciaries to administer tithing funds according to the LDS Church’s published
 3    purposes, including care for the poor and needy.
 4           157. As a result, Plaintiffs and the Class were damaged by paying ten percent
 5    (10%) of their incomes as tithing when Plaintiff and the Class would not have paid
 6    tithing had they known that Defendants were not using tithing for the LDS Church’s
 7    published purposes.
 8           158. As a direct and proximate result of Defendant LDS Corporation’s negligent
 9    misrepresentations, Plaintiff and the Class have been damaged in an amount to be
10    determined at trial, including compensatory damages and all damages allowed by law.
11                                            COUNT IV
12                 (Negligence on behalf of the Nationwide Class or State Class)
13           159. Plaintiffs incorporate by reference all material facts in this Complaint as if
14    fully set forth herein.
15           160. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
16    or Statewide Class.
17           161. In the alternative to Plaintiffs’ claims for fraudulent misrepresentation set
18    forth in Count I and fraudulent concealment set forth in Count II above, Plaintiffs allege a
19    claim of negligence.
20           162. Defendants voluntarily undertook the duties and responsibilities of a
21    charitable organization at all times relevant herein, including, without limitation, when
22    soliciting donations (or tithings) from Plaintiffs and the Class for a non-commercial, not-
23    for-profit charitable purpose. Defendants had a common law duty to prevent foreseeable
24    harm to others, including Plaintiffs and the Class, who were the foreseeable and probable
25    victims of Defendants’ unlawful practices. Defendants also had a duty to Plaintiffs and
26    the Class arising from the voluntary undertaking of the duties and responsibilities of a
27    charitable organization, which created a duty on the part of these Defendants to exercise
28    due care in the performance of those duties and responsibilities, including, without

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 1    limitation, to (1) refrain from making false representations that the tithings would be
 2    used for a non-commercial, not-for-profit charitable purpose when that is not the fact and
 3    (2) ensure that the tithings were used for the specific charitable purposes for which they
 4    were solicited.
 5          163. Defendants breached the duty of care that they owed to Plaintiffs and the
 6    Class by committing the actions set forth above. These actions also violate Cal. Gov.
 7    Code §12599.6 (prohibiting false representations that proceeds will be used for charitable
 8    purposes when that is not the fact) and Cal. Pen. Code §532d (prohibiting both
 9    intentional and negligent false statement of fact regarding the solicitation of donations).
10    Plaintiff and the Class fall within the class of persons whom these statutes are intended to
11    protect. “[V]iolation of a criminal statute can be used to establish a breach of the
12    standard of care or other element of an ordinary tort cause of action. (See 5 Witkin,
13    Summary of Cal. Law (10th ed. 2005) Torts, § 11, p. 55.; Animal Legal Defense Fund v.
14    Mendes, 160 Cal.App.4th 136, 141 (Cal. Ct. App. 2008)). Insofar as Defendants’ actions
15    violate these statutes, and the violation was a substantial factor in bringing about the
16    harm to Plaintiffs and the Class who are part of the class of persons that the statutes are
17    intended to protect, Plaintiffs and the Class are entitled to a presumption of negligence,
18    i.e., negligence per se, pursuant to common law and Cal. Evid. Code § 669.
19          164. Defendants’ negligence was a substantial factor in causing harm to Plaintiffs
20    and the Class.
21          165. As a result of Defendants’ negligence, Plaintiffs and the Class were
22    damaged by paying ten percent (10%) of their incomes as tithing when Plaintiffs and the
23    Class would not have paid tithing had they known that Defendants were not using tithing
24    for the LDS Church’s published purposes.
25          166. As a direct and proximate result of Defendant LDS Corporation’s
26    negligence, Plaintiffs and the Class have been damaged in an amount to be determined at
27    trial, including compensatory damages and all damages allowed by law.
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 1                                             COUNT V
 2        (Breach Of Fiduciary Duty on behalf of the Nationwide Class or State Class)
 3           167. Plaintiffs incorporate by reference all material facts in this Complaint as if
 4    fully set forth herein.
 5           168. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
 6    or Statewide Class.
 7           169. Plaintiffs and the Class placed confidence in the integrity of Defendants that
 8    Defendants would use tithing funds for the LDS Church’s published purposes.
 9    Defendants accepted and assumed that confidence, resulting in Defendants having a
10    fiduciary duty to Plaintiffs and the Class wherein Defendants could not take advantage of
11    Plaintiffs’ and the Class’s generosity without their consent.
12           170. Defendants had a fiduciary duty to Plaintiffs and the Class to use tithing
13    funds according to the LDS Church’s published purposes: to build and maintain temples
14    and meetinghouses, to sustain missionary work, to educate members, and to perform
15    charitable work including care for the poor and needy.
16           171. Importantly, Plaintiffs and Class Members relied on Defendants as
17    fiduciaries to distribute their donated tithing funds to the poor and needy in accordance
18    with their intentions.
19           172. Defendants breached that fiduciary duty by using tithing funds for a
20    commercial, for-profit purpose, including using $1.4 billion for the financing of City
21    Creek Center.
22           173.     As a direct and proximate result of Defendants’ breach, Plaintiffs and the
23    Class have been damaged because Plaintiff and the Class paid ten percent (10%) of their
24    incomes as tithing believing Defendants would use tithing funds for the LDS Church’s
25    published purposes, including care for the poor and needy.
26           174. Defendants’ breach meant that Plaintiffs and the Class were not able to
27    fulfill their intentions for donating tithing funds and millions of dollars in charity never
28    reached persons in need.

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 1             175. As a direct and proximate result of Defendants’ breach of fiduciary duty,
 2    Plaintiffs and the Class have been damaged in an amount to be determined at trial,
 3    including compensatory damages and all damages allowed by law.
 4                                             COUNT VI
 5              (Unjust Enrichment on behalf of the Nationwide Class or State Class)
 6             176. Plaintiffs incorporate by reference all material facts in this Complaint as if
 7    fully set forth herein.
 8             177. Plaintiffs bring this Count on behalf of themselves and the Nationwide Class
 9    or Statewide Class.
10             178. Plaintiffs and the Class conferred a benefit on Defendants by paying ten
11    percent (10%) of their incomes as tithing funds to the LDS Church, which Defendants
12    received.
13             179. Defendants received a benefit by accepting Plaintiffs’ and the Class’s tithing
14    funds.
15             180. Defendants received and retained unjust benefits from Plaintiffs and the
16    Class, and inequity has resulted because Plaintiffs and the Class paid tithing based on
17    Defendant LDS Corporation’s fraudulent misrepresentations that Plaintiffs’ and the
18    Class’s tithing funds were not being used for commercial, for-profit purposes when in
19    fact, Defendants had used tithing funds for commercial, for-profit purposes, including
20    $1.4 billion to finance City Creek Center.
21             181. It is unjust, inequitable, and unconscionable for Defendants to retain these
22    benefits because as donors, Plaintiffs and the Class had intentions that were induced by
23    fraud and Plaintiffs’ and the Class’s reasons for being members in the LDS Church have
24    been frustrated because Defendants did not use Plaintiffs’ and the Class’s tithing for the
25    LDS Church’s published purposes.
26             182. Defendants concealed their fraud and deception, and therefore Plaintiffs and
27    the Class were not aware of Defendants’ fraudulent conduct.
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 1           183. Defendants knowingly accepted the unjust benefits of their fraudulent
 2    conduct.
 3           184. As a result of Defendants’ misconduct, the fruits of Defendants’ unjust
 4    enrichment should be disgorged and returned to Plaintiff and the other Class Members in
 5    an amount to be proven at trial.
 6                                                COUNT VII
 7             (Violation Of California Consumers Legal Remedies Act, Cal. Civ. Code §
 8                              1750, et seq., on behalf of the State Class)
 9           185. Plaintiffs incorporate by reference all material facts in this Complaint as if
10    fully set forth herein.
11           186. Plaintiffs bring this Count on behalf of themselves and the Statewide Class.
12           187. Defendant LDS Corporation committed an unlawful business practice by
13    repeatedly representing to Plaintiffs and Class Members that tithing funds would not be
14    used for a commercial, for-profit purpose, when in fact Defendants used $1.4 billion in
15    tithing funds for a commercial, for-profit purpose—financing City Creek Center.
16           188. Defendants’ unlawful practice happened in the course of trade or commerce
17    through Defendant LDS Corporation’s repeated misrepresentation during the
18    aforementioned video broadcasts and print publications.
19           189. Plaintiffs and other statewide Class Members were damaged by Defendants’
20    unlawful practice by paying ten percent (10%) of their incomes as tithing.
21           190. Defendants’ conduct constitutes unlawful practices as defined by the
22    California Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq. (“CLRA”).
23           191. Plaintiffs and the other statewide Class Members seek equitable relief, an
24    award of attorneys’ fees and costs, and punitive damages under Cal. Civ. Code § 1750, et
25    seq. and any other just and proper relief available under the CLRA.
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 1                                           COUNT VIII
 2     (Violation of California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200,
 3                                 et seq., on behalf of State Class)
 4           192. Plaintiffs incorporate by reference all material facts in this Complaint as if
 5    fully set forth herein.
 6           193. California’s Unfair Competition Law Cal. Bus. & Prof. Code § 17200, et
 7    seq. (“UCL”) defines “unfair business competition” to include any “unlawful, unfair or
 8    fraudulent” act or practice, as well as any “unfair, deceptive, untrue or misleading”
 9    advertising. Cal. Bus. Prof. Code § 17200. A business act or practice is “unfair” under
10    the UCL if it offends an established public policy or is immoral, unethical, oppressive,
11    unscrupulous or substantially injurious to consumers, and that unfairness is determined
12    by weighing the reasons, justifications and motives of the practice against the gravity of
13    the harm to the alleged victims. A business act or practice is “fraudulent” under the UCL
14    if it is likely to deceive members of the consuming public. A business act or practice is
15    “unlawful” under the UCL if it violates any other law or regulation.
16           194.   The UCL imposes strict liability. Plaintiffs need not prove that Defendants
17    intentionally or negligently engaged in unlawful, unfair, or fraudulent business practices
18    – but only that such practices occurred.
19           195. Plaintiffs bring this Count on behalf of themselves and the Statewide Class.
20           196. In violation of the UCL, Defendants LDS Corporation committed an unfair,
21    unlawful and fraudulent business practice by repeatedly representing to Plaintiffs and
22    Class Members that tithing funds would not be used for a commercial, for-profit purpose,
23    when in fact Defendants used $1.4 billion in tithing funds for a commercial, for-profit
24    purpose—financing City Creek Center. This conduct also violated Cal. Gov. Code §
25    12599.6 (falsely representing proceeds will be used for charitable purposes when that is
26    not the fact), Cal. Pen. Code § 532d (false statement of fact re solicitation of donations),
27    Cal. Civ. Code § 1750 et seq. (California Consumer Legal Remedies Act), and Cal. Civ.
28    Code § 1710 (deceit).

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 1          197. Plaintiffs and other statewide Class Members were damaged by Defendants’
 2    unlawful practice by paying ten percent (10%) of their incomes as tithing.
 3          198. Plaintiffs and the other statewide Class Members seek equitable relief and
 4    restitution and any other just and proper relief available under the UCL.
 5                                            COUNT IX
 6                                        (Civil Conspiracy)
 7          199. Plaintiffs incorporate by reference all preceding paragraphs as if fully set
 8    forth herein.
 9          200. As detailed herein, Defendants LDS Corporation and EPA combined,
10    collaborated, and conspired to shield from Plaintiffs, the Class, and the general public
11    that Defendants were using funds donated by church members and intended to be used
12    for charitable and religious purposes for economic, profit-generating ventures that had
13    nothing to do with the LDS Church’s charitable and religious ventures.
14          201. Defendants LDS Corporation and EPA, through their agents, employees,
15    and representatives, had a meeting of the minds that the use of these funds would be
16    concealed, and developed a mechanism to so conceal it as detailed herein.
17          202. Representatives of Defendants LDS Corporation and EPA took numerous
18    affirmative steps in furtherance of their conspiracy, including but not limited to the
19    misrepresentations and concealment referenced herein.
20          203. As a direct and proximate result of Defendants’ conspiracy and the
21    unlawful, deceptive, and fraudulent conduct stemming therefrom, Plaintiffs and the Class
22    have sustained damages in an amount to be proven at trial.
23          204. By virtue of Defendants’ conspiracy to defraud the Class, they are jointly
24    and severally liable for the harm flowing from the conspiracy.
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                                   COMPLAINT AND JURY DEMAND
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 1                                    PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs pray that this case be certified and maintained as a class
 3    action pursuant to the proposed Nationwide Class or Statewide Class, and respectfully
 4    requests that this Court:
 5          A.     Determine that the claims alleged herein may be maintained as a class action
 6          under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
 7          certifying the Nationwide Class and/or the Statewide Class as defined above;
 8          B.     Appoint Plaintiffs as the representatives of the Class and their counsel as
 9          Class counsel;
10          C.     Award damages, including compensatory and exemplary damages, to
11          Plaintiffs and all other Class Members;
12          D.     Award Plaintiffs and Class Members actual damages sustained;
13          E.     Award Plaintiffs and Class Members such additional damages, over and
14          above the amount of their actual damages, which are authorized and warranted by
15          law;
16          F.     Create a constructive trust for the benefit of Class Members comprising all
17          inequitably obtained monies and/or proceeds derived therefrom;
18          G.     Grant equitable relief and restitution to Plaintiffs and Class Members and
19          require Defendants to disgorge inequitable gains;
20          H.     Award Plaintiffs and Class Members punitive damages;
21          I.     Award Plaintiffs and Class Members their reasonable attorneys’ fees and
22          reimbursement of all costs for the prosecution of this action; and
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                                  COMPLAINT AND JURY DEMAND
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 1          J.    Award such other relief as this Court deems just and appropriate.
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 3    Dated: January 29, 2024                     LAVELY & SINGER, P.C.
 4
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 1                                DEMAND FOR JURY TRIAL
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 3          Plaintiffs GENE JUDSON and MICHELLE JUDSON, individually and on behalf
 4    of the other members of a Nationwide Class or Statewide Class, demand a trial by jury.
 5
 6    Dated: January 29, 2024                     LAVELY & SINGER, P.C.
 7
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                                 COMPLAINT AND JURY DEMAND
